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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 1:24-cv-24669-DPG

   LEIGH M. ROTHSCHILD and
   ANALYTICAL TECHNOLOGIES, LLC,

                  Plaintiffs,
                                                              JURY TRIAL DEMANDED
   v.

   STARBUCKS CORP. and
   RACHAEL LAMKIN,

                  Defendants.



    DEFENDANT RACHAEL LAMKIN’S CERTIFICATE OF INTERESTED PARTIES
                AND CORPORATE DISCLOSURE STATEMENT

         Defendant Rachael Lamkin (“Attorney Lamkin”), pursuant to Federal Rule of Civil

  Procedure 7.1 and the Court’s February 10, 2024 Order [ECF No. 11], makes the following

  disclosures:

         1. Attorney Lamkin is a natural person.

         2. The following individuals or entities may have an interest in this action:

                 a. Leigh M. Rothschild—Plaintiff/Counter-Defendant

                 b. Analytical Technologies, LLC—Plaintiff/Counter-Defendant

                 c. Starbucks Corporation—Defendant

                 d. Rachael Lamkin—Defendant/Counter-Plaintiff

                 e. Edward F. O’Connor—Counsel for Plaintiffs

                 f. Law Offices of Edward F. O’Connor—Counsel for Plaintiffs

                 g. Stephen M. Lobbin—Counsel for Plaintiffs

                 h. SML Avvocati P.C.—Counsel for Plaintiffs
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                i. Brenton H. Cooper—Counsel for Defendant/Counter-Plaintiff Rachael Lamkin

                j. Paul R. Elliott—Counsel for Defendant/Counter-Plaintiff Rachael Lamkin

                k. Baker Botts L.L.P.—Counsel for Defendant/Counter-Plaintiff Rachael Lamkin

  Dated: February 28, 2025

                                              Respectfully submitted,

                                              /s/ Brenton H. Cooper
                                              Brenton H. Cooper
                                              Florida Bar No. 1035909
                                              BAKER BOTTS L.L.P.
                                              brent.cooper@bakerbotts.com
                                              700 K St., N.W.
                                              Washington, D.C. 20001
                                              T: (202) 639-1325
                                              F: (202) 639-7890

                                              Paul R. Elliott (admitted pro hac vice)
                                              BAKER BOTTS L.L.P.
                                              paul.elliott@bakerbotts.com
                                              910 Louisiana S.
                                              Houston, Texas 77002
                                              T: (713) 229-1226
                                              F: (713) 229-1522

                                              Counsel for Defendant Rachael Lamkin


                                 CERTIFICATE OF SERVICE

         I hereby certify that, on February 28, 2025, a true and correct copy of the above document

  was provided to all counsel of record through the Court’s ECF system.


                                                     /s/ Brenton H. Cooper
                                                     Brenton H. Cooper




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